     Case 2:19-cv-09811-MRW Document 31 Filed 10/02/20 Page 1 of 1 Page ID #:2431



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                   IN THE UNITED STATES DISTRICT COURT

10
                FOR THE CENTRAL DISTRICT OF CALIFORNIA

11
12                                          Case No. CV 19-9811 MRW
        DARREN MOORE,
13                                          JUDGMENT
                          Petitioner,
14
                  v.
15
        KEN CLARK,
16
                          Respondent.
17
18
19           IT IS ADJUDGED that the petition is denied and this action is
20     dismissed with prejudice.
21
22
23
       Dated: October 2, 2020
24
                                        _______________________________________
25                                      HON. MICHAEL R. WILNER
                                        UNITED STATES MAGISTRATE JUDGE
26
27
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